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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 'F|l.ED BY __ gD.C‘,.
WESTERN DIVISION
mullen m 3=07

 

WALTER MCGHEE, ll

 

Plaintiff,
vS. NO. OB-ZZSl-Ml/V
THOMAS E. HANSOM, et al.,

Defendants.

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ORDER GRANTING MOTIONS FOR SUMMARY JUDGMENT
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

On March l6, 2005, Plaintiff Walter McGhee filed a pro se
complaint in Shelby County Circuit Court against Thomas Hansom,
Jean Markowitz, P. Boyce, H. Moss, and Causey & Caywood, PLLC. On
April 15, 2005, Defendant Markowitz, proceeding on behalf of all
Defendants who had been served, filed a notice of removal pursuant
to 28 U.S.C. §§ 1441, 1443, and 1446, requesting this Court to
exercise jurisdiction over Plaintiff’s claims that the Defendants
had conspired to deny him his civil rights through acts of forgery,
fraud, and legal malpractice.

On April 19, 2005, Defendants Markowitz and “Causey & Caywood,
PLLC” filed. motions to dismiss and/or in the alternative for
summary judgment, along with supporting memoranda and affidavits.
On April 22, 2005, Defendants Boyce and Moss filed a joint motion
to dismiss. On June 9, 2005, the Court entered an order directing
Plaintiff to respond to the motions filed by the defendants. On

June 17, 2005, McGhee filed his response.

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with Hu|e 58 and/or 79(3) FHCP en 8 "'l \'*0 5 }5

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Plaintiff alleges that defendants responded to a previously
filed complaint, McGhee v. Boyce, No. 04-2515-Ml/V, an action for
false arrest, by “intentionally submitting an altered city document
as their defense." Defendants Markowitz and Hansom, private
attorneys acting as co-counsel, represented Defendant Officer Boyce
in case no. 04-2515-Ml/V.

Defendant Markowitz obtained and attached a copy of Plaintiff
McGee’s traffic ticket as an exhibit to Defendant Boyce’s motion
for summary judgment. Plaintiff’s copy of the ticket, attached to
the complaint in case no. 04-2515-Ml/V, contains only Officer
Boyce’s badge number l73? and no signatures. Plaintiff contends
the ticket was altered to add the name of Defendant Moss, who
Plaintiff contends was not present at the time his ticket was
issued and did not appear in traffic court to testify against him.

Plaintiff further contends that “altering documents are part
of the Tennessee Bar Association’s testing reguirements, policies
[sic] and is done as a common practice.” He further alleges that
“it is a common practice, by the defendants, to alter/change
documents to swindle, manipulate the truth, dupe and insult the
integrity of the federal court and to deceive the judge presiding
over the case.”

Defendant Markowitz, by affidavit, states that she obtained
the copy of Plaintiff's traffic ticket through the City Court
Clerk. Defendant Markowitz states that she has never had contact
or discussions with Defendant Officer Moss. Markowitz states that
“Causey and Caywood, PLLC” made no appearance in case no. 04-2515-

Ml/V. Her statement is fully supported by the record in case no.

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O4-2515-Ml/V. Markowitz has filed the affidavit of Thomas E. Long,
City Court Clerk and custodian of records for the City Clerk's
office. Long has provided a copy of Plaintiff’s traffic ticket
#W101959. The copy of the ticket is identical to the one filed as
an exhibit by Markowitz in case no. 04-2515-Ml/V.

Defendant “Causey and Caywood, PLLC" has also filed a motion
for summary judgment based upon the nonexistence of any suable
entity known as “Causey and Caywood, PLLC,” and the fact that
neither attorney Causey nor attorney Caywood made an appearance in
case no. 04-2515. Additionally, “Causey and Caywood, PLLC”
contends the complaint contains no allegations against it, whether
properly named or not.

Defendant Officers Boyce and Moss have also filed a motion to
dismiss. Officer Moss correctly contends that because he was not
a named defendant in case no. 04-25l5“Ml/V, he did not make an
appearance in that case. Defendants Boyce and Moss contend that
the completion of a routine traffic ticket after giving the driver
his copy does not violate any clearly established constitutional
right.

To the extent Plaintiff seeks to renew his request for entry
of default against the parties who have filed motions to dismiss,
rather than answers to the complaint, the defendants timely filed
motions to dismiss the Plaintiff’s complaint and, in particular,
denied that the Plaintiff was entitled to any of relief. “A
default may be entered by the clerk only with regard to a claim for
affirmative relief against a party who has failed to plead or

otherwise defend.” lOA Charles Alan Wright, Arthur R. Miller, &

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Mary Kay Kane, Federal Practice and Procedure § 2682 (3d ed.).
Since the defendants “otherwise defend[ed]” by challenging the
sufficiency of Plaintiff’s complaint, they are not in default.
Plaintiff's renewed request for default is, thereforer DENIED.1

Plaintiff's response to the defendants' motions reiterates the
allegations of his complaint: Moss’ signature or name does not
appear on his copy of the ticket, Moss did not appear to testify
against him at traffic court. McGhee, therefore, concludes that
the ticket was altered and a fraud. The remainder of Plaintiff's
response is an attempt to relitigate the accusations made in case
no. 04-2515-Ml/V.

Plaintiff's attempt to relitigate his claims against Officer
Boyce is barred by both the claim and issue preclusion branches of
the res judicata doctrine. §ee C. Wright, Law of Federal Courts,
§ lOOA at 680, 682 (1983). “A final judgment on the merits of an
action precludes the parties or their privies from relitigating
issues that were or could. have been raised in that action.”
Federated Dept. Stores, Inc. v. Moitie, 452 U.S. 394, 398
(1981)(emphasis added). The dismissal in case no. 04-2515-Ml/V was
a judgment on the merits.

The rules of finality, both statutory and judge made,
treat a dismissal on statute-of-limitations grounds the
same way they treat a dismissal for failure to state a
claim, for failure to prove substantive liability, or for
failure to prosecute: as a judgment on the merits. §ee,

e.g., Fed. Rule Civ. Proc. 4l(b); United States v.
Oppenheimer, 242 U.S. 85, 8?-88 (1916).

 

l Service was not effected upon defendant Hansom before the removal of

the complaint from state court and this Court has not directed the Clerk to issue
further process.

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Plaut v. Spendthrift Farm, lnc., 514 U.S. 211, 228 (1995).
Where a plaintiff has sued parties in serial litigation
over the same transaction; where plaintiff chose the
original forum and had the opportunity to raise all its
claims relating to the disputed transaction in the first
action; where there was a "special relationship" between
the defendants in each action, if not complete identity
of parties; and where although the prior action was
concluded, the plaintiff's later suit continued to seek
essentially similar relief--the courts have denied the
plaintiff a second bite at the apple.
Lubrizol Corp. v. Exxon Corp., 871 F.Zd 1279, 1288 (5th Cir. 1989);
see also The Restatement (Second) Judgments § 51 (1982).2
Plaintiff's only allegation against Defendants Moss and
“Causey and Caywood, PLLC” is that “[o]n February 3, 2005 [in case
no. 04~2515-Ml/V, those defendants] responded to the complaint by
intentionally submitting an altered city document as their defense
and evidence.” The record of case no. 04-2515-Ml/V demonstrates
that McGhee’s allegation is devoid of factual foundation. Officer
Moss was not named as a defendant in that case and neither attorney
Causey nor attorney Caywood made an appearance in that case.
McGhee makes no further factual allegations against Moss or
“Causey & Caywood, PLLC.” When a plaintiff completely fails to
allege any action by a defendant, it necessarily "appears beyond
doubt that the plaintiff can prove no set of facts which would
entitle him to relief." Spruvtte v. Walters, 753 F. 2d 498, 500

(6th Cir. 1985).

 

2 Plaintiff attached.a copy of his application for certificate of title

for a 1988 Cadillac, dated May 9, 2003. To the extent that Plaintiff held a
valid belief that the document supported his claims in case no. 04-2515-Ml/V, the
document should have been filed as an exhibit in that case.

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McGhee may not sue Markowitz or Hansom for statements made
and/or actions taken during the prior court proceedings. lt is
generally recognized that statements made in the course of a
judicial proceeding that are relevant and pertinent to the issues
involved are absolutely privileged and cannot be the predicate for
liability in an action for libel, slander, or invasion of privacy.
Lambdin Funeral Service, Inc. v. Griffith, 559 S.W.Zd 791, 792

(1978); Jones v. Trice, 360 S.W.Zd 48, 50-51 {1962); 62 Am. Jur. 2d

 

Privacy § 14; 53 C. J. S. Libel & Slander § 104. This absolute
privilege holds true even in those situations where the statements
are made maliciously and corruptly. Havslip v. Wellford, 263
S.W.2d 136r 42 A.L.R. 2d 820 (1953).

McGhee has no claim against Markowitz or Hansom for
malpractice or professional negligence. A claim of common law
negligence requires a duty of care owed by the defendant to the
plaintiff, conduct falling below the applicable standard of care
that amounts to a breach of that duty, an injury, cause in fact,
and proximate or legal cause. White v. Lawrence, 975 S.W.2d 525,
529 (Tenn. 1998). In a legal negligence or malpractice case, the
client must prove employment of the attorney, neglect by the
attorney of a reasonable duty, and damages that resulted to the
client from that neglect. Blocker v. Dearborn & Ewino, 851 S.W.Zd
825, 826 (Tenn. 1993); Sammons v. Rotroff, 653 S.W.2d 740, 745
(Tenn. App. 1983). McGhee has alleged no relationship or
circumstances under which Markowitz or Hansom owed him any legal
duty. Markowitz and Hansom jointly represented the opposing party,

Officer Boyce. As there was no attorney-client relationship

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between McGhee, Markowitz, and Hansom, McGhee’s claim for
malpractice has no basis in law or fact.

Furthermore McGhee has no claim against the defendants

pursuant to 42 U.S.C. § 1985.

[l]n order to state a cause of action under § 1985, the
plaintiff must allege that the defendants (1) conspired
together,r (2} for the purpose of depriving, directly or
indirectly, a person or class of persons of the equal
protection of the laws, (3) and committed an act in
furtherance of the conspiracy, (4) which caused injury to
person or property, or a deprivation of any right or
privilege of a citizen of the United States, and (5) and
that the conspiracy was motivated by racial, or other
class-based, invidiously discriminatory animus.

Bass v. Robinson, 167 F.3d 1041, 1050 (6th Cir. 1999). The
complaint contains no allegations whatsoever that suggest either
that the Plaintiff was deprived of the equal protection of the laws
or that any defendant was “motivated by racial, or other

class-based, invidiously discriminatory animus." ld.; see also

 

Smith v. Thornburq, 136 F.3d 1070, l078 (6th Cir. 1998).
Moreover, “in order to demonstrate the necessary conspiracy,
a plaintiff must allege specific acts or means by which the
defendants were alleged to have conspired.” Bryant-Bruce v.
Vanderbilt Univ., lnc., 974 F. Supp. 1127 (M.D. Tenn. 1997); see
also Brooks v. American Broadcasting Cos., 932 F.2d 495 (6th Cir.
1991) (affirming denial of motion to amend to add § 1985 claim
because “the allegations are too vague and conclusory to withstand

a motion to dismiss”); Jaco v. Bloechle, 739 F.2d 239, 245 (6th

 

Cir. 1984); Lindsev v. Allstate lns. Co., 34 F. Supp. 2d 636, 645
(W.D. Tenn. 1999). McGhee's conclusory allegations of a conspiracy

are unsupported by material facts.

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Accordingly, Plaintiff has failed to establish a genuine issue
of material fact on any claim against the defendants and they are
entitled to judgment as a matter of law. The motions for summary
judgment and motion to dismiss are GRANTED and Plaintiff's
complaint is DISMISSED.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in fgrma pauperis if the trial court certifies in
writing that it is not taken in good faith. The good faith
standard is an objective one. §Qppedqe v. United States, 369 U.S.
438, 445 (1962). Accordingly, it would be inconsistent for a
district court to determine that a complaint fails to state a claim
upon which relief may be granted, yet has sufficient merit to
support an appeal in forma pauperis. See Williams v. Kullman, 722
F.2d 1048, 1050 n.l (2d Cir. 1983).

Thus, the same considerations that lead the Court to dismiss
this case also compel the conclusion that an appeal would be
frivolous. lt is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by Plaintiff is not
taken in good faith, and Plaintiff may not proceed on appeal in
fgrma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601, 612-13 (6th Cir. 1997), and Callihan
v. Schneider, 178 F.3d 800 (6th Cir. 1999), apply to any appeal
filed by the Plaintiff in this case. lf Plaintiff files a notice
of appeal, he must pay the entire $255 filing fee required by 28
U.S.C. §§ 1913 and 1917, or file a request for leave to appeal in

forma pauperis by filing "within thirty days after service of the

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district court's decision as prescribed by Fed. R. App. P.
24(a)(4), a motion with [the Sixth Circuit] for leave to proceed as
a pauper on appeal." Callihan, 178 F.3d at 803. Under Callihan,
if the appellant does not within this thirty-day period either file
the required motion or pay the filing fee, the appeal will be
dismissed for want of prosecution. lf the appeal is dismissed, it

will not be reinstated once the fee is paid. Id. at 804.

IT rs so eastern this [@ day cf Augus,t, 2005.

amon

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

   

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Honorable .1 on McCalla
US DISTRICT COURT

